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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               Case No.: 1:21-cv-20543-MGC-Cooke

 ELIAS SANCHEZ SIFONTE and
 VALERIE RODRIGUEZ ERAZO,

                Plaintiffs,
 vs.

 JOSUE FONSECA, et al.,

             Defendants.
 ____________________________________/
                         NOTICE OF APPEARANCE OF COUNSEL

        Rachel E. Fugate of Shullman Fugate PLLC hereby gives notice of her appearance as
 counsel on behalf of Defendants Josue Fonseca, Telemundo International Studios LLC,
 Telemundo Internacional LLC, Jagual Media LLC, NBCUniversal Media, LLC, Telemundo
 Network Group LLC, Telemundo of Puerto Rico LLC, TM Television, Inc., and TM
 Entertainment, Inc. The certificate of service for all pleadings, orders, and other papers in this
 action should include Rachel E. Fugate at Shullman Fugate PLLC, 100 South Ashley Dr.,
 Suite 600, Tampa, FL 33602 and rfugate@shullmanfugate.com.
        Dated: February 10, 2021.
                                              Respectfully submitted,

                                              SHULLMAN FUGATE PLLC

                                              Rachel E. Fugate
                                              Rachel E. Fugate (FBN 144029)
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                                              Attorney for Defendants




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